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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

BASF Corporation, as successor      )                 Civil Action No.: 2:24-cv-00993-RMG
in interest to CIBA Corporation,    )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )
                                    )
AIU Insurance Company, et al.,      )
                                    )
      Defendants.                   )
____________________________________)

    TIG INSURANCE COMPANY’S JOINDER TO CO-DEFENDANTS’ MOTIONS TO
                    DISMISS PLAINTIFF’S COMPLAINT

       Defendant TIG Insurance Company (“TIG”), by and through its undersigned counsel, in

the interest of judicial economy and to avoid the filing of duplicative briefs, hereby joins the Co-

Defendants’ Motions to Dismiss the Complaint filed by Plaintiff BASF Corporation, as successor

in interest to CIBA Corporation, (“BASF”).1

       Specifically, TIG joins the motion to dismiss filed by Defendants AIU Insurance Company,

Granite State Insurance Company, Insurance Company of the State of Pennsylvania, and National

Union Fire Insurance Company of Pittsburgh, Pa., (collectively, the “Partial AIG Insurers”). TIG

incorporates by reference the facts, arguments, and authorities set forth in the Partial AIG Insurers’

motion to dismiss the Complaint. The Partial AIG Insurers move to dismiss or, in the alternative,

stay these proceedings, pursuant to Rules 12(b)(1), (2), (3) and (6) of the Federal Rules of Civil




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  TIG reserves the right to assert coverage and other defenses in addition to those concerning
jurisdiction in the future, if necessary and as appropriate. By filing this motion, TIG expressly
preserves all of its rights and defenses under its policies, the law, or in equity, and waives none.
TIG also asserts that the filing of this joinder does not constitute a waiver of TIG’s arguments
regarding the lack of jurisdiction, as to which TIG reserves all rights.
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Procedure pending resolution of the more comprehensive action filed by BASF in New Jersey state

court. See ECF No. 41.

       TIG also joins the motion to dismiss filed by Defendant Coliseum Reinsurance Company,

as successor by merger to AXA Insurance Company, formerly known as Colonia Insurance

Company, a New York Corporation (identified in the Complaint as AXA Insurance Company and

referred to herein as “Coliseum”). TIG incorporates by reference the facts, arguments, and

authorities set forth in Coliseum’s motion to dismiss the Complaint. Coliseum moves to dismiss

or, in the alternative, transfer this action to the U.S. District Court for the Southern District of New

York based on lack of personal jurisdiction (Fed. R. Civ. P. 12(b)(2)), the common law doctrine of

forum non conveniens, and 28 U.S.C. § 1404. See ECF No. 34.

       Finally, TIG joins the motion to dismiss filed by Defendant, Allstate Insurance Company

(“Allstate”), solely as successor-in-interest to Northbrook Excess and Surplus Insurance Company,

formerly Northbrook Insurance Company (“Northbrook”). TIG incorporates by reference the facts,

arguments, and authorities set forth in Allstate’s motion to dismiss the Complaint. Allstate moves

to dismiss the Complaint under Rule 12(b)(7) of the Federal Rule of Civil Procedure for failure to

join all of the insurers which BASF has alleged owe it coverage for certain claims against it. See

ECF Nos. 37, 38.

       For the reasons outlined above and set forth in greater detail in the memoranda filed by the

Co-Defendant insurers, TIG respectfully requests that the Court dismiss Plaintiff’s Complaint.




                                     (Signature Page to Follow)



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April 24, 2024                             Respectfully submitted,


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